                           IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   STATESVILLE DIVISION
                          CIVIL ACTION NO. 5:25-CV-00007-KDB-DCK

        YUKON PACKAGING, LLC,

                 Plaintiff,

                 v.                                                ORDER

        JONES SUSTAINABLE
        PACKAGING, LLC,

                 Defendant.



       THIS MATTER is before the Court on Plaintiff’s Motion for a Temporary Restraining

Order (“TRO”) (Doc. No. 7). Plaintiff Yukon Packaging, LLC (“Yukon”) and Defendant Jones

Sustainable Packaging, LLC (“Jones”) are competitors in the market for insulated containers used

to ship temperature-sensitive goods. In its Complaint, Yukon contends that Jones is infringing two

utility patents and one design patent through its sale of a “3-piece insulated container” (the

“Accused Product”). Doc. No. 1 at 1; Doc. Nos. 1-1, 1-3 and 1-5 (the Patents-in-Suit). In its

proposed TRO, Yukon asks the Court to enjoin Jones from “making, using, selling, offering to

sell, importing and/or advertising” the Accused Product. For the reasons discussed briefly below,

the Court will DENY the motion because Yukon has failed to establish that it is entitled to a TRO

without notice to Jones. See Federal Rule of Civil Procedure 65(b).

       A TRO or preliminary injunction is “an extraordinary remedy that may only be awarded

upon a clear showing that the plaintiff is entitled to such relief” and may never be awarded “as of

right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22, 24, 32 (2008) (noting that even

issuance of a permanent injunction after trial “is a matter of equitable discretion; it does not follow



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from success on the merits as a matter of right.”). The Fourth Circuit has similarly recognized that

the grant of such a remedy involves “the exercise of a very far-reaching power, which is to be

applied only in [the] limited circumstances which clearly demand it.” Centro Tepeyac v.

Montgomery Cnty., 722 F.3d 184, 188 (4th Cir. 2013) (en banc).

        To receive an injunction prior to a final decision on the merits, a plaintiff must establish

that: (1) it is likely to succeed on the merits; (2) it is likely to suffer irreparable harm without the

preliminary injunction; (3) the balance of equities tips in its favor; and (4) the injunction is in the

public interest. Winter, 555 U.S. at 20; Mountain Valley Pipeline, LLC v. Western Pocahontas

Properties Limited Partnership, 918 F.3d 353 (4th Cir. 2019); League of Women Voters of N.C. v.

North Carolina, 769 F.3d 224, 236 (4th Cir. 2014). Each of these four requirements must be

satisfied. Id.

        Even accepting that Yukon is “likely” to succeed on the merits (a conclusion which the

Court has not fully considered and does not here decide), Plaintiff has failed to establish “specific

facts” which show that “immediate and irreparable injury ... will result to the movant before the

adverse party can be heard in opposition.” See Fed. R. Civ. Proc. 65(b)(1)(A). Yukon’s Complaint

and Memorandum in support of its Motion states that 1) these parties have been engaged in an

ongoing dispute over their respective intellectual property and products for some time; 2) the

Patents-in-Suit just issued on January 14, 2025 (so Jones’ future commercial response to them is

unknown); and 3) both Yukon and Jones are in the final stages of an annual sales pitch and pricing

of their products to Yukon’s largest customer, Veritiv Corporation. In such circumstances, fairness

dictates that Jones be given notice of Yukon’s claims and an opportunity to respond before the

Court prohibits Jones from competing in the relevant market. Further, Yukon has proffered no

evidence that the risks that normally support a TRO without notice (for example, that the defendant



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will take some action that make the relief requested impossible or spoil the evidence) are applicable

here.

        Accordingly, the TRO motion will be denied. However, the Court is sensitive to Yukon’s

expressed need to address these issues promptly in light of the approaching deadline for concluding

important customer negotiations. Therefore, if Yukon files a motion for a preliminary injunction,

it will be heard promptly after Jones has been served and given a brief opportunity to respond.

(Indeed, Jones may also want to have the prospect of an injunction based on Yukon’s newly issued

patents resolved quickly).

                                             ORDER

        NOW THEREFORE IT IS ORDERED THAT:

           1. Plaintiff’s Motion for a Temporary Restraining Order (Doc. No. 7) is DENIED;

               and

           2. If Yukon files a motion for a preliminary injunction it will be heard promptly after

               Jones has been served and given a brief opportunity to respond.

        SO ORDERED ADJUDGED AND DECREED.

                                               Signed: January 15, 2025




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